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  From:           Franks, Patricia E
  To:             Schume Navarro (navarro4ccsd@gmail.com)
  Subject:        Teams Meeting Link
  Date:           Tuesday, September 28, 2021 1:32:00 PM


  Ms. Navarro,

  I have forwarded a Teams calendar invitation to you for the BOE Candidate Forum this evening. I
  have also included the link to join the meeting here: Click here to join the meeting

  Let me know if you have any questions.

  Thank you,

  Patti Franks
  Executive Assistant to
  Dr. Jennifer Perry
  Deputy Superintendent
  720-554-4226




                                                                                    EXHIBIT A-3.1
